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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                BALTIMORE OFFICE

 LUMA HALIG,
 160 S. Michigan Ave., Unit 1907
 Chicago, IL 60605

                    Plaintiff,

        v.                                          CASE NO. 1:22-cv-2118

 NATIONAL BOARD OF EXAMINERS
 OF OPTOMETRY, INC.,
 Serve: The Corporation Trust, Inc
 2405 York Road, Suite 201
 Lutherville Timonium, Maryland 21093

                    Defendant.


         PLAINTIFF’S CIVIL COMPLAINT AND REQUEST FOR JURY TRIAL

       COMES NOW Plaintiff, LUMA HALIG, by and through her undersigned counsel, who

files this Complaint against Defendant, the NATIONAL BOARD OF EXAMINERS IN

OPTOMETRY (“NBEO”), and states as follows:

                                 NATURE OF THE ACTION

       1.       This action challenges the discriminatory delay and denial of reasonable testing

accommodations requested by Plaintiff, Luma Halig (“Dr. Halig”), on the Clinical Skills

Examination (“CSE”) administered by Defendant NBEO, which determines whether a candidate

may be licensed to practice optometry in the United States.

       2.       The discrimination by NBEO has deprived Dr. Halig, a person with multiple

documented disabilities, from successfully passing the CSE and thereby becoming licensed to

practice optometry. These discriminatory actions, which are ongoing, violate the Americans with

Disabilities Act.   Immediate and permanent injunctive relief is necessary to correct these

violations.

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                                  JURISDICTION AND VENUE

        3.       Dr. Halig’s claims arise under the Americans with Disabilities Act, as amended, 42

U.S.C. §§ 12101, et seq. (the “ADA”).

        4.       This Court has subject matter jurisdiction based on a federal question under 28

U.S.C. §§1331 and 1343(a).

        5.       This Court further has jurisdiction over this action under 28 U.S.C. § 1332, as the

case involves a civil action between citizens of different states and the sum in controversy exceeds

$75,000, exclusive of interest and costs.

        6.       This Court has jurisdiction to issue a declaratory judgment pursuant to 28 U.S.C. §

2201(a) and further relief pursuant to 28 U.S.C. § 2202.

        7.       This Court has jurisdiction over the NEBO because it is incorporated in Maryland

and avails itself to Maryland.

        8.       Under 28 U.S.C. § 1391, venue is proper in this judicial district because the NBEO

is a resident of this District.

                                              PARTIES

        9.       Dr. Halig is a 2020 graduate from the Illinois College of Optometry (“ICO”),

located in Chicago, Illinois. She resides in the State of Illinois.

        10.      Dr. Halig is diagnosed with and affected by learning disabilities, including specific

learning disorders with impairments in reading and mathematics, as well as severe attention deficit

hyperactivity disorder (“ADHD”) and adjustment disorder.

        11.      Dr. Halig is a person with a disability under the ADA and is entitled to federal

protection and appropriate accommodations.

        12.      Defendant NBEO is a privately held not-for-profit corporation. It is incorporated

in Maryland with its principal office located at 2405 York Road, Suite 201, Lutherville Timonium,


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MD, 21093, and maintains its principal place of business in North Carolina at 200 S. College

Street, Suite 2010, Charlotte, North Carolina, 28202.

       13.     The NBEO is the national testing organization in the field of optometry in the

United States, and it creates and administers various exams in the optometry profession, including

the CSE. As such, the NBEO is subject to the non-discrimination and reasonable accommodation

requirements of the ADA.

                                   FACTUAL ALLEGATIONS

       14.     Dr. Halig is a 2020 graduate of ICO. As many other students did, Dr. Halig sought

to take the three Parts of the NBEO optometry certification examination offered through the NBEO

in 2020.

       15.     The NBEO’s optometry certification examination purports to assess the

competence of potential optometrists, and results on this test is a mandatory precursor to obtaining

are one of the multiple requirements for a professional optometry license.

       16.     In order to obtain a professional optometry license in the United States, candidates

must pass all three parts of the NBEO optometry certification examination, including Part One:

Applied Basic Science (“ABS”); Part Two: Potential Acuity Meter (“PAM”); and Part Three:

Clinical Skills Examination (“CSE”).

       17.     Parts One and Two of the exam consist of several hundred multiple-choice scored

items, which take several hours to complete, and Part Three consists of a candidate’s

demonstration of clinical skills that purport to simulate actual optometry practice.

       18.     Part Three of the examination consists of four stations in which the first three

stations are timed for thirty minutes, and the fourth station is timed for only fifteen minutes.

       19.     Despite the structure of Part Three of this examination, Optometrists are not timed

in the delivery of their services in the profession.


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       20.     Despite the structure of Part Three of this examination, artificial time limits are not

a part of the skill and practice of Optometry.

       21.     The NBEO has available online its “Test Accommodations” policies and

procedures, which outlines the documentation the NBEO requires for test-takers to request

accommodations on the examination. The NBEO’s website states that a candidate’s functional

limitations will determine the appropriateness of any test accommodations.

       22.     The NBEO’s policies and procedures, as applied in the context of Dr. Halig, are

insufficient and result in violations of applicable law.

A.     DR. HALIG’S DISABILITY DIAGNOSES AND ACCOMMODATIONS

       23.     Dr. Halig has been diagnosed with multiple disabilities, including ADHD; specific

learning disorders with impairments in reading and mathematics; and adjustment disorder, with

mixed anxiety and depressed mood.

       24.     Despite being an individual with multiple disabilities, Dr. Halig has succeeded and

persevered in her chosen course of study.

       25.     Dr. Halig has been diagnosed with several disabilities by multiple different medical

professionals over the years.

       26.     During her undergraduate studies, Halig received reasonable accommodations

which included extended time on tests, a quiet separate testing room, use of a note-taker, and extra

breaks as needed.

       27.     In 2008, prior to taking the GRE and entering graduate studies, Dr. Halig sought

and received further evaluation of her disabilities from Dr. Greenaway.

       28.     Dr. Greenaway evaluated Halig with “significant impairments in working memory,

visual sustained attention, and mathematics fluency,” as well as challenges with “reading fluency

and rate” and “symptoms of significant anxiety and depression.”


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       29.     At the time, Dr. Greenaway diagnosed Halig with ADHD (Inattentive Type),

Mathematics Disorder, Depressive Disorder Not Otherwise Specified, and Generalized Anxiety.

       30.     Also at the time, Dr. Greenaway recommended several accommodations in order

to allow Dr. Halig to demonstrate her capabilities. Those accommodations included preferential

seating, reduced workload, extended time (100% on mathematics, 50% time on other tasks), extra

breaks, provision of visual aids, and permission to record classroom lectures.

       31.     Following Dr. Greenaway’s evaluation, Dr. Halig received accommodations for the

Graduate Record Exam (“GRE”) including extra breaks totaling 30 minutes and 150% (time and

a half) testing time on the Essay Argument, Essay Issue, Verbal Computer Adaptive, and

Quantitative Computer Adaptive portions of the GRE.

       32.     Prior to beginning her studies at the Illinois College of Optometry, Dr. Halig was

evaluated by Dr. Duncan in 2013.

       33.     In the course of the 2013 examination, Dr. Duncan concluded that Dr. Halig was

“continuing to experience clinically significant problems with inattention, hyperactivity,

impulsivity, disorganization, and general difficulties with learning.”

       34.     Dr. Duncan maintained the previous diagnoses of ADHD (Inattentive type) and

Mathematics Disorder for Dr. Halig.

       35.     In addition, Dr. Dungan recommended reasonable accommodations including

preferential seating, extended time (ranging from time-and-a-half to double time), extra breaks,

and a provision of combined visual and verbal aids.

       36.     Prior to entering the Illinois College of Optometry, Dr. Halig sought

accommodations on the Optometry Admissions test. The Optometry Admissions test, created by

the Association of Schools and Colleges of Optometry, is designed to give the means to assess an

applicant’s potential for success in graduate optometry education and the practice of optometry.


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       37.    Due to her documented disabilities, Dr. Halig obtained double time and separate

room accommodations for the Optometry Admissions test.

       38.    In the course of her studies with the Illinois College of Optometry, Dr. Halig

underwent an extensive psychoeducational evaluation conducted by Dr. Joshua Wolff in 2017.

       39.    Dr. Wolff diagnosed Dr. Halig with the following disabilities:

              DSM-5 Diagnostic Impressions

              314.00 Attention-Deficit/Hyperactivity    Disorder   (Predominantly    inattentive
              presentation), severe

              315.1 Specific Learning Disorder, with impairment in Mathematics, moderate,
              noted by problems with (1) Accurate or fluent calculation; and (2) Accurate math
              reasoning

              315.00 Specific Learning Disorder, with impairment in Reading, moderate, noted
              by problems with: Reading rate

              209.28 Adjustment Disorder, with mixed Anxiety and Depressed Mood

       40.    Dr. Wolff’s evaluation concluded that Dr. Halig had “significant problems with

attention, impulsivity, auditory working memory, and mathematics/reading fluency demonstrated

throughout this evaluation and previous evaluations” and concluded that Dr. Halig “qualifies for

educational and testing accommodations under the ADA.”

       41.    Dr. Wolff recommended the following accommodations:

              1. Extended time on any evaluation procedures. She needs double-time
                 (+100% time) for all academic work, including exams, laboratory
                 exercises, graded materials, and homework assignments. Because her
                 fluency deficits were especially pronounced on mathematical fluency
                 subtests, this seems especially relevant in the field of Optometry that
                 she be given sufficient time to demonstrate her actual knowledge of and
                 skill proficiency.     The request for extended time is strongly
                 substantiated by the test results which indicate clinically significant
                 problems with auditory working memory, math fluency, reading
                 fluency, and inattention. Of note, these indicators are 1-2 standard
                 deviations below the mean in comparison to adults her age.

                      a. This is especially needed on exams which have multiple
                         components/subjects and require heavier demands on executive

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                           functions (e.g., switching, inhibiting, monitoring, and sustaining
                           attention), such as the NBEO exam.

               2. Allow [Dr. Halig] additional breaks, as needed, in order for her to
                  sustain attention and concentration during classes, labs, and exam.

               3. Allow the use of pencil and paper, or another form of writing notes.

               4. Preferential seating to minimize distractions, if requested by [Dr. Halig].

               5. Completion of exams or lab evaluations in a separate, quiet room with
                  minimal distractions.

               6. Allow [Dr. Halig] to register for classes early so that she can create a
                  schedule that maximizes flexibility and breaks, which are needed to
                  improve attention.

               7. Permission to record spoken lectures and labs in order to review
                  materials that may have been missed due to inattention and working
                  memory weaknesses.

               8. Copies of notes provided in advance so that [Dr. Halig] can follow
                  along, rather than trying to write quickly or memorize the auditory
                  material and then falling behind in class/lab. This could also help [Dr.
                  Halig] recognize visual images in class/lab that she has seen before,
                  which is a strength that could compensate for auditory weaknesses.

               9. Use of headphones or ear plugs to reduce auditory distractions.

               10. Use of reading software, when needed, due to attention problems and
                   tests data which demonstrated her ability to improve her memory
                   performance when being able to hear something multiple times.

       42.     In accordance with the diagnosis of Dr. Wolff, Dr. Halig received accommodations

throughout her studies at the Illinois College of Optometry, including the following:

               1.      double time for examinations;

               2.      the use of a “reader” for examinations; and

               3.      private testing space for examinations;

       43.     Notably, the Illinois College of Optometry also gave Dr. Halig “additional time (up

to double time) for clinical skills assessments or practical exams.”



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       44.     In doing so, the Optometry professionals of the Illinois College of Optometry

concluded that granting additional time for clinical or practical examinations would neither create

an undue burden nor fundamentally alter the measurement of the skills or knowledge the practical

examinations and clinical assessments were intended to test.

       45.     Due to her multiple documented disabilities, Dr. Halig has multiple disorders that

substantially limit one or more major life activities.

       46.     Due to her multiple documented disabilities and limitations, Dr. Halig requested

testing accommodations as required by the NBEO’s policies and procedures.

       47.     At the NBEO’s request, Dr. Halig cooperated by providing any documentation

requested and providing the NBEO with the contact information from university officials that had

previously provided Dr. Halig with testing accommodations during her time at ICO.

       48.     In support of her request to the NBEO for accommodations on each part of the

NBOE examination, including the CSE, Defendant received, among other things, the entire Wolff

evaluation and documentation of the accommodations Dr. Halig received at ICO.

B.     THE NBEO’S DENIAL OF DR. HALIG’S REQUEST OF REASONABLE
       ACCOMMODATIONS

       49.     When considering Dr. Halig’s request, NBEO did not give the appropriate

“considerable weight to documentation of past…accommodations”.

       50.     Despite having evidence of multiple professional evaluations and diagnoses of

disabilities, explicit recommendations from a medical provider on what accommodations were

necessary for Dr. Halig to demonstrate her capabilities on the examination, and actual examples

of   what    educational   institutions   and   Optometry   professionals   deemed     appropriate

accommodations for Dr. Halig, the NBEO was not satisfied.

       51.     Notably, the NBEO sought additional confirmation from Dr. Wolff’s report,

including reaching out to other professors within ICO.

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       52.        The NBEO’s process was so extensive and time-consuming that Dr. Halig was

initially unable to take the CSE because the NBEO had not finished its evaluation of her

documentation.

       53.        Specifically, Dr. Halig applied for her accommodations in November 2018 but did

not receive substantive feedback from NBEO until February 2019.

       54.        Even at that point, the testing center was unable to schedule the examination with

the accommodations for the first two parts of the CSE in Dr. Halig’s geographical area.

Consequently, Dr. Halig was forced to defer her examination.

       55.        In August 2020, Dr. Halig was shocked and troubled to learn that she would not be

receiving all of the accommodations sought.

       56.        After evaluating Dr. Halig’s extensive documentation, the NBEO ultimately in

August 2020 granted double time for Part I: (ABS) and Part II ( PAM) of the professional

examination. The NBEO refused, however, to grant Dr. Halig’s requested accommodation for

Part III (CSE).

       57.        Specifically, Rick Present, ADA Coordinator for the National Board of Examiners

in Optometry, stated “in looking at all the documentation, I do not see sufficient evidence to award

you extra time for any station for the Part III exam.”

       58.        In the denial, Mr. Present claimed that “time is considered to be an integral

component for Part III,” apparently asserting that “it is very rare that we offer extra time for any

station on the Part III exam.”

       59.        Mr. Present’s response did not claim that granting the accommodation would be an

“undue burden.”

       60.        Upon information and belief, based upon the reference to “very rare” situations,

NBEO has granted extra time to other applicants for the Part III examination.


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        61.     Mr. Present’s response did not articulate any concerns for the safety of the

“patients” that would be assisting in the examination process due to the grant of the requested

additional time.

        62.     As a purported alternative, the NBEO offered to either rearrange the placement of

the 4 portions of Part III, or to give modestly longer breaks (fifteen minutes instead of the four or

five other examinees experience) between the 4 portions of Part III. However, in doing so, NBEO

warned that accepting the options may result in limits to Dr. Halig’s ability to find a test date.

        63.     In spring 2021, after substantial delays due to NBEO’s extended evaluation of Dr.

Halig’s accommodation request, Dr. Halig finally got to take the NBEO examination.

        64.     Dr. Halig passed Part One: ABS and Part Two: PAM, of the NBEO examination.

        65.     However, Dr. Halig did not fully pass Part Three: CSE, for which the NBEO

refused to grant Dr. Halig’s requested accommodations for extra time and breaks. Of the four

stations in Part Three, Dr. Halig passed stations one and three, but she ran out of time on stations

two and four.

        66.     During her practicum at ICO, Dr. Halig passed Part Three of the simulated

examination when she was provided with the accommodations she requires. Without those

accommodations, the NBEO results for Part III reflected Dr. Halig’s disability and not her true

capabilities.

        67.     Dr. Halig requires the full additional time and breaks recommended by Dr. Wolff

for the NBEO exam, including Part III, as those accommodations would best ensure that the exam

results reflect Dr. Halig’s aptitude and not her disabilities.

        68.     Simply put, Dr. Halig’s functional limitations impact her ability to take a timed

clinical examination in a way that non-disabled test takers simply do not experience.




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       69.     As demonstrated by ICO, the grant of additional time in clinical and patient settings

neither fundamentally alters the measurement of skills necessary to be a professional optometrist

nor creates an undue burden on the administrator of the examination.

       70.     If Dr. Halig does not receive the requested reasonable accommodations on Part III:

CSE, she will be unable to fully demonstrate her actual knowledge, skills, and potential to succeed

on Part III: CSE.

       71.     If Dr. Halig does not take Part III: CSE with appropriate accommodations, she will

be irreparably harmed because she will lose the extensive time, effort, and financial resources she

has invested in becoming an optometrist.

       72.     The accommodations requested by Dr. Halig, including extra time and scheduled

breaks, are reasonable and do not present an undue burden for the NBEO because the NBEO can

take measures to mitigate any safety concerns while still providing Dr. Halig with appropriate

accommodations.

                                 FIRST CAUSE OF ACTION

             VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                           42 U.S.C. §§ 12101 ET SEQ.

       73.     Dr. Halig hereby realleges paragraphs 1-72 and incorporates the allegations by

reference the previous paragraphs of this Complaint as if realleged fully herein.

       74.     Dr. Halig has physical or mental impairments that substantially limit one or more

of her major life activities, including but not limited to reading, learning, concentrating, and

thinking.

       75.     Dr. Halig is an individual with a disability within the meaning of the ADA, 42

U.S.C. § 12102, as amended.

       76.     Dr. Halig is a qualified individual within the meaning of the ADA in that she meets

all the eligibility criteria for taking the NBEO optometry certification examination.

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       77.     Dr. Halig requires reasonable accommodations to participate in a fair, full, and

equal basis on the NBEO optometry certification examination.

       78.     Specifically, with respect to the Part III portion of the NBEO examination, Dr.

Halig requires extra time and the ability to have breaks in order to demonstrate her aptitude during

Part III of the exam, akin to the accommodations NBEO approved and allowed for Parts I and II

of the exam.

       79.     The modifications that Dr. Halig needs would not impose a fundamental alteration

of the examination but would attempt to level the field and allow her aptitude and abilities to be

fairly and accurately measured.

       80.     Defendant NBEO administers the NBEO optometry certification examination, an

examination related to applications and credentialing for postsecondary education, professional,

and trade purposes, within the meaning of the ADA.

       81.     The ADA, 42 U.S.C. § 12189, requires the NBEO to offer these examinations in a

manner accessible to persons with disabilities.

       82.     The Department of Justice Regulations interpreting the ADA mandate that a private

entity offering examinations modify its examinations as necessary to ensure full and equal access

to persons with disabilities, including through the provision of extra testing time to permit

completion. 28 C.F.R. § 36.309(b).

       83.     Department of Justice regulations require that testing entities such as NBEO must

make only “reasonable and limited” requests for documentation of the disability and desired

accommodations. 28 C.F.R. § 36.309(b)(1)(iv).

       84.     Department of Justice regulations require testing entities such as NBEO to respond

“in a timely manner to requests for modifications, accommodations, or aids to ensure equal

opportunity for individuals with disabilities.” 28 C.F.R. § 36.309(b)(1)(iv).


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       85.     The Department of Justice regulations interpreting the ADA state that testing

entities such as NBEO “shall generally accept” “documentation provided by a qualified

professional who has made an individualized assessment of an applicant that supports the need for

the modification, accommodation or aid requested…and provide the accommodation”.

Nondiscrimination on the Basis of Disability, 75 Fed. Reg. at 56,297.

       86.     Implementing regulations further provide that “considerable weight” should be

given to past testing accommodations. 28 C.F.R. § 36.309(b)(1)(v).

       87.     NBEO had notice of Dr. Halig’s disabilities and need for reasonable

accommodations in the testing process.

       88.     NBEO had notice of the accommodations sought by Dr. Halig in the testing process.

       89.     The NBEO has discriminated, and continues to discriminate, against Dr. Halig

based on her disability by denying her an equal opportunity to demonstrate her aptitude and

achievement level on the NBEO optometry examination in violation of the ADA, specifically, 42

U.S.C. § 12182.

       90.     The NBEO’s discriminatory practices violate Dr. Halig’s rights under the ADA and

the regulations promulgated thereunder. The NBEO’s discriminatory policies and practices

include:

               (a) Failing to timely consider and render a determination on the request for
                   accommodations.

               (b) Making extensive and lengthy requests for documentation, rather than
                   “reasonable and limited” requests as required by the law.

               (c) Failure to give considerable weight to the recommendations and determinations
                   of Dr. Halig’s evaluators.

               (d) Failure to give appropriate deference and weight to Dr. Halig’s prior approval
                   and use of accommodations in school, in standardized examinations, and in
                   clinical and practical examinations.



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               (e) Failure to provide a clear explanation for the NBEO’s denial of reasonable
                   accommodations.

               (f) Failure to grant the accommodations required by Dr. Halig, even after she had
                   submitted ample documentation and necessity for the same.

       91.     Dr. Halig has been damaged by the discriminatory conduct of Defendant.

       92.     The NBEO’s conduct constitutes an ongoing and continuous violation of the ADA.

Unless enjoined from doing so, the NBEO will continue to violate said law and cause injury for

which Dr. Halig has no adequate remedy at law. Consequently, Dr. Halig is entitled to injunctive

relief under the ADA, 42 U.S.C. § 12188.

                                SECOND CAUSE OF ACTION

                                   DECLARATORY RELIEF

       93.     Dr. Halig hereby realleges paragraphs 1-92 and incorporates the allegations by

reference the previous paragraphs of this Complaint as if realleged fully herein.

       94.     A present and actual controversy exists between Dr. Halig and the NBEO

concerning their rights and respective duties.

       95.     Dr. Halig contends that the NBEO violated and continues to violate her rights under

the ADA.

       96.     Based upon information and belief, the NBEO denies these allegations, and thus

declaratory relief is therefore necessary and appropriate.

       97.     Dr. Halig seeks a judicial declaration of the rights and duties of the respective

parties accordingly.

                                    PRAYER FOR RELIEF

       WHEREFORE, Dr. Halig prays for judgment as follows:

         a)     Preliminary order compelling the NBEO, or those acting as agents for or in concert
with it, to provide reasonable accommodations to Dr. Halig, by providing her with the reasonable
accommodations on the next available administration of Part Three: CSE of the NBEO optometry

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examination, which accommodations shall include: extra time (double time) on each of four
stations and appropriate as-needed breaks between each section of the Part Three: CSE;

       b)     Preliminary order compelling the NBEO to report and certify Dr. Halig’s score on
the Part Three: CSE of the NBEO examination administration once taken with the above
accommodations;

       c)       An order making the above orders permanent and that such orders be made
applicable to all future examinations, if any, administered by the NBEO and taken by Dr. Halig;

          d)     An order granting such injunctive relief as may be appropriate;

          e)     An order granting declaratory relief;

       f)      An order awarding Dr. Halig her attorney’s fees, costs, and expenses of suit
incurred herein; and

          g)     An order awarding such other and further relief as the Court may deem just and
proper.

                                          JURY DEMAND

          Plaintiff hereby demand a trial by jury.

DATED this 22nd day of August, 2022.

                                                Respectfully Submitted,

                                                LAW OFFICE OF KIM PARKER, P.A.

                                                _/s/ Kim Parker, Esq. ____________________
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